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                                                       January 10, 2022

Via ECF

The Honorable Lorna G. Schofield
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    United States v. Willie Dennis
       20 Cr. 623 (LGS)

Dear Judge Schofield,

         I write on behalf of Willie Dennis to respectfully request that the Court narrowly modify
the conditions of Mr. Dennis’s pretrial release in this matter. Specifically, given the nonexistent
risk of flight or danger to the community that Mr. Dennis presents; the onerous conditions of Mr.
Dennis’s pretrial release; his full compliance to date with the terms of his pretrial release; and the
significant physical pain and injury that Mr. Dennis has experienced as a result of his location
monitoring equipment, we respectfully request that Mr. Dennis no longer be subject to home
detention enforced by location monitoring, but rather to a curfew enforced by voice recognition
technology. The Government and Pretrial Services oppose this request.

        To the extent the Court does not grant this application on the basis of the parties’
submissions, we respectfully request that the Court conduct a hearing at its earliest convenience
to consider this request. Due to Mr. Dennis’s residence in Florida, the widespread COVID
outbreak, and Mr. Dennis’s physical condition, the defense consents to a telephonic hearing. The
parties are available Friday, January 14, 2022 from 1:00 to 4:00 p.m. for a telephone conference,
and can make themselves available next week as well, depending on the Court’s availability.

I.     Background

       A.      Background

        Willie Dennis was born and raised in New York, and grew up in a close-knit family with
strong religious and family values. Mr. Dennis was the first African American student to attend
St. Edwards the Confessor School in Syosset, New York, and attended Choate Rosemary Hall in
Wallingford, Connecticut on a scholarship. Mr. Dennis then attended Columbia College, from
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which he graduated in 1984, worked for the Federal Reserve Bank of New York, and then
attended Columbia Law School, from which he received his juris doctorate degree.

        Following his graduation from Columbia Law School, Mr. Dennis practiced corporate
law at premier law firms in New York City for three decades, becoming a partner at a top 50 law
firm as recognized by nationwide industry publications. Mr. Dennis was fortunate to be
mentored by trailblazing Black attorneys, and, over his career, he has advised and counseled
numerous Fortune 500 companies, including Microsoft, Goldman Sachs, DuPont, MetLife,
CBRE, American Express, Tyco, Toys-R- Us, and Darden Restaurants. In recognition of his
achievements, Mr. Dennis has received numerous industry awards and been named as one of the
nation’s best lawyers by Black Enterprise magazine and one of the top African American
lawyers by Savoy magazine.

        Beyond his work for clients, Mr. Dennis has dedicated himself to actively promoting
gender and racial equality, within the legal industry and beyond. For example, Mr. Dennis has
long been involved with diversity and inclusion initiatives with the Minority Corporate Counsel
Association, the National Bar Association, and Corporate Counsel Women of Color. Mr. Dennis
has also served on the Board of Directors for the Upper Manhattan Empowerment Zone, working
closely with business leaders and national, state, and local elected officials to promote the
economic development and advancement of historically Black communities. Mr. Dennis has
served on the Board of Directors for Junior Achievement of New York, and has been an active
supporter and counselor for several local and national political campaigns.

        Mr. Dennis’s employment with his last law firm ended acrimoniously (he vigorously
disputes the narrative his firm has publicly disseminated), and Mr. Dennis has been pursuing
civil legal remedies against the firm for several years. Although the alleged conduct in this
matter occurred primarily in 2018 to 2020 according to the Government, Mr. Dennis was not
arrested until November 2021, on the eve of the parties in his civil matter exchanging substantive
discovery with each other.

       Mr. Dennis has no criminal history, having never been convicted of a criminal offense.

       B.      Mr. Dennis’s Initial Appearance and Bail Determination

       At the Friday, November 19, 2021 bail hearing, in an effort to ensure that Mr. Dennis was
released from custody as quickly as possible and was not detained any longer than necessary, the
defense originally agreed to a bail package with the Government that included, among other
conditions, home detention to be enforced by location monitoring. See Ex. A, Tr. 14:5–15:9,
16:16–19:19, United States v. Dennis, No. 20 Cr. 623 (S.D.N.Y. Nov. 19, 2021).

        Despite the agreed upon bail package, by the time the parties appeared before
Magistrate’s Court, Pretrial Services personnel were no longer available to install Mr. Dennis’s
location monitoring equipment. Id. 21:20–22:5. At that point, the Government objected to Mr.
Dennis being released on his own signature, and Magistrate Judge Wang (over the defense’s
objections both to the location monitoring condition and to Mr. Dennis’s detention until location
monitoring equipment could be affixed), ordered that Mr. Dennis be detained until the next court


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day (Monday, November 22, 2021) at which personnel would be available to affix the ankle
bracelet. Id. 28:19–29:8, 35:22–40:11, 48:14–53:12, 54:7–55:16.

         In ordering Mr. Dennis’s detention and location monitoring over the defense’s objections,
Magistrate Judge Wang found that Mr. Dennis presented a risk of flight because he had been
living in the Dominican Republic at the time of his arrest. Id. 59:17–61:7. Magistrate Judge
Wang ordered that Mr. Dennis be released on the conditions the parties had otherwise agreed to, 1
after either location monitoring equipment was installed or his co-signers had been sworn to the
bond. Id. 54:7–58:1; see Dkt. No. 5.

        After delays due to the intervening weekend, Mr. Dennis was released from MDC
Brooklyn on the evening of November 22, 2021. Despite the undersigned’s office reaching out to
the Government, Marshals Service, and Bureau of Prisons repeatedly throughout the day, Mr.
Dennis was released by MDC Brooklyn without any advanced notice to counsel. Because Mr.
Dennis was released from custody late in the day on November 22, he was not fitted with
location monitoring equipment at this time.

        Despite not being subject to location monitoring or GPS tracking, however, Mr. Dennis
fully complied with the conditions of his pretrial release. During this time, while not being
subject to any location monitoring and before his co-signers had signed his release bond, Mr.
Dennis did not attempt to flee and he did not attempt to contact or approach any of the alleged
victims in this case. Rather, he reported immediately to counsel’s office and voluntarily returned
to Pretrial Services first thing the next morning to receive his location monitoring equipment and
be processed by the Marshals Service.

       C.      Mr. Dennis’s Compliance with his Release Conditions and Physical Ailments
               Since His Release

        Since his release on November 22, 2021, Mr. Dennis has continued to be fully compliant
with the terms of his release. On December 6, 2021, the Court approved Mr. Dennis’s consent
application to be permitted to reside with his elderly parents in Florida, given the uninhabitable
state of his home in New York. See Dkt. No. 16.

        Since mid-December, Mr. Dennis has been experiencing increasing pain in his back, right
inner thigh, and right leg, which have forced him to seek medical attention on multiple
occasions. On December 14, 2021, Mr. Dennis went to the emergency room of Central Florida

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    Specifically, a $200,000 personal recognizance bond, co-signed by three financially
    responsible persons; travel restricted to the Southern and Eastern Districts of New York;
    surrender of travel documents; agreement to not possess any firearms; mental health services
    as directed by Pretrial Services; agreement to seek employment; urinalysis and substance
    abuse treatment as directed by Pretrial Services; agreement to not open any new email
    accounts or phone accounts without permission from Pretrial Services; agreement to provide
    Pretrial Services with the phone numbers and email accounts/passwords that would be used
    going forward; agreement not to contact four alleged victims, any current or former
    employees of K&L Gates, or several additional persons identified by the Government.


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Regional Hospital, where he was treated for lower back pain. See Ex. B. He returned on
December 17, 2021 when he experienced pain in his inner thigh as well. See Ex C. The
emergency room physician referred Mr. Dennis to another medical provider for evaluation and
treatment that the ER could not provide, and informed Mr. Dennis that she believed his pain was
being caused by the unequal weight Mr. Dennis was carrying on his right leg from his location
monitoring equipment.

        On December 22, 2021, Mr. Dennis’s clinical provider concluded that the inner thigh
pain he was experiencing was likely caused by the additional weight Mr. Dennis was bearing on
his right leg. See Ex. D. The clinical provider recommended that the location monitoring
equipment be removed to reduce this strain. Id. After a return visit on January 5, 2022, the
clinical provider confirmed her diagnosis. See Ex. E. On January 7, 2022, the clinical provider
diagnosed Mr. Dennis with a right inguinal hernia and referred him for a surgical consultation
(scheduled for January 11, 2022). See Ex. F.

        In the summer of 2021, Mr. Dennis suffered an interphalangeal dislocation of his first toe
(Ex. G at 13–14), for which his primary care physician and orthopedic surgeon in the Dominican
Republic (where he was living) both recommended surgery. Because he lacks medical insurance,
Mr. Dennis had not pursued this expensive treatment, but was treating this ailment with physical
therapy. This had reduced the pain to the point that Mr. Dennis did not mention it at the time of
his Pretrial Services interview in November. However, due to this injury, Mr. Dennis puts more
weight on his right leg, and Mr. Dennis’s clinical provider believes the location monitoring
equipment is exacerbating this issue by adding additional weight to his right leg. See Ex. E.

        Mr. Dennis and counsel have inquired of Pretrial Services whether it is possible for the
current home detention condition to be enforced by an alternative ankle bracelet or technological
means other than an ankle bracelet, but have been informed that this is not possible. Counsel has
also asked the Government if it would consent to alternative conditions of release (in addition to
those already imposed) that could substitute for the home detention and location monitoring
conditions. The Government has not consented to alternative conditions.

II.    Argument

        Under the Bail Reform Act, the district court “shall order the release of the person” upon
personal recognizance or the execution of an unsecured appearance bond, unless the court
determines that such release “will not reasonably assure” the appearance of the defendant or the
safety of the community. 18 U.S.C. § 3142(b). In the latter case, the court may impose conditions
on pretrial release, but such conditions must be the “least restrictive” conditions necessary to
“reasonably” address any risk of flight or danger to the community. Id. § 3142(c)(1)(B).

        The Bail Reform Act further provides that, where a district court has imposed conditions
of release, it “may at any time amend the order to impose additional or different conditions of
release.” Id. § 3142 (c)(3). When considering an application to modify a defendant’s bail
conditions, the Court is guided by the factors in 18 U.S.C. § 3142(g) regarding whether
conditions exist that will reasonably assure the appearance of the accused and the safety of the
community. Specifically, the Court is to consider:


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       (1) the nature and circumstances of the offense charged . . . ;
       (2) the weight of the evidence against the person;
       (3) the history and characteristics of the person, including—
              (A) the person’s character, physical and mental condition, family ties,
       employment, financial resources, length of residence in the community, community ties,
       past conduct, history relating to drug or alcohol abuse, criminal history, and record
       concerning appearance at court proceedings; and
               (B) whether, at the time of the current offense or arrest, the person was on
       probation, on parole, or on other release pending trial, sentencing, appeal, or completion
       of sentence for an offense under Federal, State, or local law; and
       (4) the nature and seriousness of the danger to any person or the community that would
       be posed by the person’s release . . . . Id.

        The Court’s determination as to whether any condition or combination of conditions of
release will reasonably assure the safety of the community must be supported by clear and
convincing evidence, and its determination as to whether any conditions will reasonably assure
the appearance of the defendant must be supported by a preponderance of the evidence. See 18
U.S.C. §§ 3142(e), (f); United States v. Chimurenga, 760 F.2d 400, 405 (2d Cir. 1985).

        Under the present circumstances, the home detention and location monitoring conditions
in the Magistrate Court’s release order far exceed the “least restrictive” set of conditions
necessary to assure Mr. Dennis’s appearance in court or to prevent any danger to the community.
Modification is particularly appropriate where, as here, new facts emerge (including a record of
Mr. Dennis’s full compliance with the terms of his pretrial release, his failure to flee or contact
any alleged victims during the time that he was free in the community and not subject to any
location monitoring (or moral suasion from co-signers to any bond), and the physical pain and
discomfort his location monitoring equipment is causing him).

        The record as it presently stands warrants the Court’s granting of the limited relief sought
by Mr. Dennis—modification of the home detention and location monitoring condition to a
curfew enforced by voice recognition technology. However, to the extent the Court is not
prepared to grant Mr. Dennis’s application on this record alone, Mr. Dennis respectfully submits
that the present onerous conditions should not be maintained without conducting a bail
modification hearing at which the Government must establish that no other set of conditions will
ameliorate the purported risk of flight or danger to the community that Mr. Dennis presents.

       A.      Risk of Flight

        Mr. Dennis presents no risk of flight. This has been proven beyond all doubt by his
conduct since his release on November 22, 2021. Specifically, during the period of time after Mr.
Dennis had been released from custody, but before his co-signers had been sworn to the bond
and before Mr. Dennis was fitted with location monitoring equipment, Mr. Dennis did nothing
that evidenced any intent to flee. If Mr. Dennis were going to flee, it would have been at this
time—before any third parties would have been subject to the negative consequences of his


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flight, while Pretrial Services was unaware of his location, and while he was not carrying any
mobile electronic device that could be tracked or traced.

        But Mr. Dennis did not flee during this time. He reported directly to the undersigned’s
office. The next day, he reported immediately to Pretrial Services to receive his location
monitoring equipment (and was even excused during his wait for his equipment because Pretrial
Services personnel were delayed).

        Since his release, Mr. Dennis has complied with all of the conditions of his pretrial
release—including, most importantly, the no-contact order issued by Magistrate’s Court. Mr.
Dennis’s full compliance (even when not subject to location monitoring or the full extent of the
bond conditions) completely refutes the government’s original portrait of Mr. Dennis as a risk of
flight or a danger to the community. His compliance demonstrates, to the contrary, his respect for
the Court and his willingness to conform to the Court’s orders.

        Mr. Dennis is a United States citizen who has surrendered his passport to the Government
and Pretrial Services. Although he was living in the Dominican Republic at the time of his arrest,
this fact alone cannot justify the imposition of the onerous home detention and location
monitoring condition in this case. Mr. Dennis lived, worked, and raised a family in New York for
more than 50 years. He has a deep network of friends and colleagues in the New York legal and
political community who remain supportive of him. At the time of his arrest, Mr. Dennis—who
was in the midst of a contentious divorce, had lost his employment in New York, and was
attempting to avoid the widespread outbreak of COVID-19 in the United States—was under no
obligation to live in the United States and (to his knowledge) was facing no criminal charges in
the United States. Once the charges again him were unsealed, Mr. Dennis did not challenge his
removal to the United States.

        In addition, three of Mr. Dennis’s close family members have now co-signed his
significant bond of $200,000. The willingness of Mr. Dennis’s family members to sign on his
behalf and vouch for his compliance with the conditions of his release is strong support for
granting Mr. Dennis’s present application. Mr. Dennis is not going to flee and risk the
consequences of what might happen to his family—those who have stood by and supported him
through the toughest moments of his life—if he were to fail to appear at a future court
appearance. Nor would Mr. Dennis subject his elderly parents, who are in declining health and
with whom he now resides in Florida, to abandonment or the fear, stress, and complications that
would result if Mr. Dennis were to flee from their home.

       Moreover, Mr. Dennis—who has been out of work for several years—has no liquid assets
that would allow him to flee, even if he wanted to (which he does not).

       In sum, the significant conditions of release to which Mr. Dennis is already subject are
more than sufficient to reasonably assure that Mr. Dennis appears at all future court appearances,
without the need for home detention and 24/7 location monitoring.

       This conclusion is buttressed by all of the 3142(g) factors:




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•   The charged offenses involve alleged communications Mr. Dennis sent to his former
    colleagues during the deterioration of Mr. Dennis’s relationship with his former law firm.
    While not minimizing the seriousness of this alleged conduct, it bears emphasizing that the
    Government does not allege that Mr. Dennis attempted or conspired to physically harm any
    alleged victim, or planned or took any steps in furtherance of a plan to harm any alleged
    victims. Mr. Dennis is not charged with committing or attempting to commit any acts of
    violence. And he has not contacted any alleged victim since the no-contact order was issued
    in this case. See 18 U.S.C. § 3142(g)(1).
•   While the Government has proffered that the record reflects a number of communications
    that constitute the charged offenses of cyberstalking, the “weight of the evidence” against the
    defendant is generally considered the least important factor for the Court’s bail consideration.
    See United States v. Jones, 566 F.Supp.2d 288, 292 (S.D.N.Y.2008). Moreover, at this early
    stage in the discovery process, Mr. Dennis has not yet been provided Brady or Giglio
    material or the communications of the alleged victims, which the defense anticipates will
    reflect that the alleged victims did not experience substantial emotional distress. See 18
    U.S.C. § 3142(g)(2).
•   Mr. Dennis’s personal history and characteristics weigh heavily against the need for location
    monitoring in this case. Mr. Dennis has no criminal convictions. As described above, for
    decades Mr. Dennis has had a sterling reputation as an attorney and advisor. He has been
    recognized as leading attorney in the field (and one of the too few Black corporate attorneys
    to represent Fortune 500 companies) and has been an active board member and supporter of
    numerous development, diversity, and inclusion organizations and initiatives. See id. §
    3142(g)(3)(A).
•   With respect to his physical condition, as reflected above and in the attached documentation,
    Mr. Dennis has been experiencing significant pain and discomfort, which his medical
    providers ascribe to the unequal distribution of weight he is carrying on his legs and the
    exacerbating effects it is having on a previous injury. This unequal weight distribution might
    have also contributed to a hernia. Due to these ailments, he is not physically able to flee.
•   Mr. Dennis’s family ties are extremely strong—he is living with his elderly parents in Florida
    and helping to care for them during the COVID-19 pandemic when they have been forced to
    avoid crowded locations and other people as much as possible. Moreover, his bond has been
    co-signed by three close family members who would be devastated financially if he were to
    flee. Id.
•   Mr. Dennis is in no financial position to flee, he has no history of drug or alcohol abuse, he
    has no criminal history, and he has never missed a scheduled court proceeding (civil or
    criminal). Id.
•   At the time of his arrest, Mr. Dennis was not on probation, parole, or release in any other
    matter. Id. § 3142(g)(3)(B).
•   As discussed in more detail below, Mr. Dennis also presents no danger to any other person or
    the community that would be increased by the removal of his home detention and location
    monitoring conditions. Id. § 3142(g)(4)




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       Given these facts, the Government cannot establish by the preponderance of the evidence
that Mr. Dennis presents a flight risk such that home detention and the location monitoring
condition of his pretrial release are necessary. See 18 U.S.C. § 3142(f)(2)(A).

       C.      Danger to the Community

        For similar reasons, the Government cannot establish by clear and convincing evidence
that there is a basis for continuing the home detention and location monitoring conditions of Mr.
Dennis’s pretrial release based upon a risk that Mr. Dennis presents a danger to the community.

        Although the Government only mentioned it briefly at Mr. Dennis’s bail argument, and
Magistrate Judge Wang did not base her decision to impose location monitoring on the purported
danger to the community, it is worth emphasizing that the “danger” Mr. Dennis is alleged to have
presented in the first instance is not of violence. Mr. Dennis has no criminal history and no
history of violence. In this case, Mr. Dennis is not charged with conspiring or attempting to harm
any alleged victim; he is not charged with planning or taking any steps in furtherance of a plan to
harm any alleged victims. And Mr. Dennis is not charged with committing or attempting to
commit any acts of violence against anyone. He is accused of sending harassing
communications, but this alleged conduct has already been squarely addressed by the no-contact
order and electronic communication monitoring conditions to which Mr. Dennis consents.

        This distinction is crucial for purposes of Mr. Dennis’s bail conditions. For example, in
United States v. Demmler, 523 F. Supp.2d 677 (S.D. Ohio 2007), the court held that specific
threats against court personnel were not enough to bar the defendant’s release on bail. In
Demmler, the defendant was indicted for obstruction of justice and witness tampering, and was
heard on tape making specific threats to harm officers of the court. Nonetheless, the court held
that the defendant did not pose a danger necessitating detention because, inter alia, the defendant
did not have a violent criminal history. Id. at 681. More important, the court cited the lack of any
evidence that the defendant had taken any steps towards acting on those threats or that they
reflected anything more than mere words. Id. As the court recognized, even in cases where a
defendant has been accused of “engaging in threatening behavior,” the threshold for detention “is
not easily satisfied.” Id. at 683 (citing United States v. Brannon, 208 F.3d 227 (10th Cir. 2000)
(unpublished) (affirming pretrial release of defendant accused of using mail to threaten federal
judge and intimidate a judicial officer because “the government could point to no incidents of
actual violent behavior except for a few minor domestic incidents five years earlier”)). 2

       Again, perhaps most importantly, Mr. Dennis has already proven that he presents no
“danger” to the community during the period of his pretrial release—including during a period of
time when he was not subject to location monitoring, was present in the same city as the alleged
victims and their office, and before the co-signers had signed his bond. Cf. Brannon, 208 F.3d



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    Even in cases where defendants have been charged with making threats to alleged victims,
    defendants in this District have been released without location monitoring conditions. E.g.,
    United States v. Rodriguez, 21 MAG 11534 (S.D.N.Y.) (defendant charged with
    cyberstalking and threatening interstate communications).


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227 (affirming district court’s release order that “considered Mr. Brannon’s appropriate conduct
during a short release to attend his mother’s funeral”).

        Since his arrest, Mr. Dennis has been fully compliant with the other terms of his pretrial
release, including that he not contact specifically identified alleged victims or any current or
former employee of his law firm. Moreover, since his relocation to Florida, Mr. Dennis has been
further removed (by thousands of miles) from the alleged victims in this case. While the
Government has proffered to the defense that one of the alleged victims has moved to
somewhere in the state of Florida, Mr. Dennis has no knowledge of which person this is or
his/her current location within the 65,757.7 square miles of Florida.

        In any event, the conditions of his current pretrial release, as well as the prospect that Mr.
Dennis may face incarceration or the imposition of extreme financial losses on himself and his
co-signers were he found to be in violation of a bail condition, provide sufficient assurances that
Mr. Dennis would not engage in any behavior that could be characterized as presenting a danger
to the community. Even if the Government could establish a risk of danger to the community, it
would still bear the burden of proving that Mr. Dennis constitutes such a danger that the
conditions of Mr. Dennis’s pretrial release in their current form constitute the least restrictive
means of preventing such harm. In fact, as modified, the existing conditions would more than
adequately address any risk of danger concerns by continuing to specifically prohibit Mr. Dennis
from contacting in any way any of the alleged victims, any current or former employee of his
former firm, and other specified persons, and prevent him from opening any new email or phone
accounts. He has proven he will comply with these conditions during the seven weeks of his
pretrial release to date.

        For these reasons, the Court should reject any attempt by the Government to rely upon a
risk of danger theory to oppose the proposed modification of Mr. Dennis’s pretrial release
conditions.

       E.      The Continued Requirement of Location Monitoring Equipment Will Cause
               Additional Physical Injury to Mr. Dennis

        One of the specific factors the Court is to consider in making its bail modification
determinations is the “physical condition” of the defendant. See 18 U.S.C. 3142(g)(3)(A). As
described above and in the attached medical records, Mr. Dennis has been experiencing
significant pain and discomfort as a result of his location monitoring equipment, including lower
back and leg pain, inner thigh pain (which might require hernia surgery), and exacerbation of a
previously dislocated toe. As a result, he has needed to seek medical attention multiple times
over the past few weeks and his medical providers have recommended the removal of his
location monitoring equipment to avoid further deterioration of his physical state.

        These concerns are not conjecture. Mr. Dennis’s medical providers have stated that the
location monitoring equipment is exacerbating Mr. Dennis’s physical ailments. The symptoms
about which Mr. Dennis complains are also similar to those that have been reported by others
involved in the criminal justice and immigration systems who have been mandated to wear ankle
monitors from BI Incorporated, the company that manufactured the device Mr. Dennis has been


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assigned. See, e.g., Immigration Defense Project, Cardozo School of Law, “Immigration Cyber
Prisons: Ending the Use of Electronic Ankle Shackles,” at 3, 12–16 (July 2021),
https://static1.squarespace.com/static/5a33042eb078691c386e7bce/t/60ec661ec578326ec3032d5
2/1626105377079/Immigration+Cyber+Prisons+report.pdf (noting that 90% of survey
participants in immigration proceedings who were ordered to wear ankle monitors experienced
harm to their physical health, reflecting “a wide range of symptoms including aches, pains, and
cramps; numbness due to impaired circulation; discomfort related to excessive heat; and
sustained swelling/inflammation”). The Cardozo Law Immigration Defense Project also reported
that “[o]ne in five surveyed individuals experienced electric shocks from the ankle shackle, a
type of injury that has been documented in previous studies on ankle shackles,” and at least one
respondent who reported that the device “felt like it ‘crushes the bones in the front of his foot.’”
Id. at 13; see also A.F. Cahn, “Ankle Monitors Can Hold Captives in Invisible Jails of Debt, Pain
and Bugged Conversations,” NBCNews Opinion (Nov. 6, 2019),
https://www.nbcnews.com/think/opinion/ankle-monitors-can-hold-captives-invisible-jails-debt-
pain-bugged-ncna1076806 (reporting that ankle monitoring devices “have caused an array of
medical complications, including everything from cuts and bruises and impaired
circulation to electric shocks, hair loss, headaches and difficulty breathing”).

       While Mr. Dennis has sought medical attention at emergency rooms and low-cost clinics
because he does not have medical insurance (and has incurred non-reimbursable medical
expenses in the process), he is willing to undergo a medical examination from a doctor appointed
by the Court to confirm his providers’ diagnoses.

        Nor are Mr. Dennis’s ailments being exaggerated in an effort to justify removal of the
home detention condition. Before making the current application, Mr. Dennis sought to have the
home detention condition enforced by other technological means. Specifically, the website for
the Administrative Office of the United States Courts states that location monitoring can be
enforced using “voice recognition” technology, in which “[c]omputerized random or scheduled
telephone calls are placed and received from a person under supervision’s approved location,
typically the residence, to verify the person’s presence.” U.S. Courts, “How Location Monitoring
Works,” available at https://www.uscourts.gov/services-forms/probation-and-pretrial-
services/supervision/how-location-monitoring-works#voice (last visited Jan. 8, 2022); see also
Ex. I at 6. Pretrial Services has stated, however, that it no longer uses this technology.

        To the extent the Court believes some sort of location monitoring is necessary here, it
should modify Mr. Dennis’s pretrial release conditions to require a curfew, to be enforced by
voice recognition technology that is used by at least some other jurisdictions. Such conditions, in
addition to those to which Mr. Dennis is already subject, would more than address any and all
concerns raised by the Government and Pretrial Services. These conditions would also allow Mr.
Dennis to more adequately care for his elderly parents (e.g., by being able to run errands for
them without requiring advance permission for every trip to the store from an overburdened
Pretrial Services staff), address his medical issues, and effectively defend himself against the
criminal charges he is facing (e.g., by permitting him to print, scan, and copy documents to send
to counsel at a local FedEx or UPS store, since his parents’ home lacks a printer or scanner). 3

3
    At a minimum, the Court should order that Mr. Dennis’s location monitoring equipment may


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       However, if such technology is unavailable, we respectfully submit that the record above
supports the Court eliminating the location monitoring condition of Mr. Dennis’s pretrial release.

                                          *       *       *

        For the foregoing reasons, we respectfully request that that Court modify the home
detention and location monitoring conditions of Mr. Dennis’s pretrial release. In the alternative,
the Court should convene a hearing at its earliest convenience to consider this request.

         We thank the Court for its consideration of this request.

                                               Respectfully submitted,

                                               /s/ Neil Kelly

                                               Neil P. Kelly
                                               Assistant Federal Defender
                                               (212) 417-8744

cc:      AUSA Sarah Kushner
         Pretrial Services Officer Joshua Rothman




      be removed by Pretrial Services when necessary for a pre-approved medical procedure or
      appointment. For example, Mr. Dennis has been informed that to undergo an MRI or imaging
      for his hernia, he will likely need to remove his location monitoring equipment. Accordingly,
      the Court should order that Pretrial Services may remove his equipment before this procedure
      and reaffix it following the medical appointment.


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